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                               EXHIBIT 8
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                            HIGHLAND CAPITAL MANAGEMENT, L.P.

January 15, 2021



NexPoint Advisors, L.P.
300 Crescent Court, Suite 700
Dallas, Texas 75201
Attention: James Dondero

        Re: Partial Payment on Promissory Note

Dear Mr. Dondero,

On May 31, 2017, NexPoint Advisors, L.P, (“Maker”), entered into that certain promissory note
in the original principal amount of $30,746,812.33 (the “Note”) in favor of Highland Capital
Management, L.P. (“Payee”). A copy of the Note is attached hereto as Appendix A.

On January 7, 2021, Payee notified you that because of Maker’s failure to make the payment due
on December 31, 2020 (the “Default”), the Note was in default and that all principal, interest,
and any other amounts due on the Note were immediately due and payable. The amount due and
payable on the Note as of January 8, 2021, was $24,471,804.98; however, interest continues to
accrue under the Note.

On January 14, 2021, Payee received a wire from Maker in the amount of $1,406,111.92 (the
“Partial Payment”). To reiterate, the amount due under the Note as of January 8, 2021, was
$24,471,804.98. The Partial Payment will be applied as payment against the amounts due under
the Note pursuant to Section 3 thereof. The Note remains in default, and all amounts due
thereunder are due immediately.

After adjusting for the Partial Payment and the continued accrual of interest, the amount due
under the Note as of January 15, 2021, is $23,071,195.03 (which amount does not include
expenses incurred to date in collecting the Note). Payment of such amount is due immediately.
Payments on the Note must be made in immediately available funds. Payee’s wire information is
attached hereto as Appendix B.

Nothing contained herein constitutes a waiver of any rights or remedies of Payee under the Note
or otherwise and all such rights and remedies, whether at law, equity, contract, or otherwise, are
expressly reserved, including the right to recover Payee’s expenses incurred in collecting the
Note. Interest, including default interest if applicable, on the Note will continue to accrue until
the Note is paid in full. Any such interest will remain the obligation of Maker.

Sincerely,

/s/ James P. Seery, Jr.

James P. Seery, Jr.
Highland Capital Management, L.P.
Chief Executive Officer/Chief Restructuring Officer


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cc:     Fred Caruso
        James Romey
        Jeffrey Pomerantz
        Ira Kharasch
        Gregory Demo
        DC Sauter
        A. Lee Hogewood III




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                                Appendix A
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                                    Appendix B


                  ABA #:          322070381
                  Bank Name:      East West Bank
                  Account Name:   Highland Capital Management, LP
                  Account #:      5500014686
